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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
        Plaintiffs,                 )
                                    )      CIVIL ACTION NO.
        v.                          )        2:14cv601-MHT
                                    )             (WO)
JOHN HAMM, in his                   )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
        Defendants.                 )

              ORDER ON INTERNAL MONITORING TEAM

    The court cannot remember where it got the impression

(from    a   filing     or   a    representation        at   a    status

conference) that the ADOC has established, or is in the

process of establishing, an internal monitoring team

(IMT).

    Accordingly, it is ORDERED that:

    (1) By noon on January 3, 2023, the parties should

file a report indicating the status of the IMT, including

whether it has been established or is being established,
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who its members are, what its role is in this litigation,

and any other relevant information.

       (2) The parties should be prepared to discuss the

IMT at the status conference on January 4, 2023, at 8:00

a.m.

       DONE, this the 28th day of December, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                   2
